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             EXHIBIT 5
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              CITY OF KIRKLAND
              Human Resources Department
              123 Fifth Avenue, Kirkland, WA 98033; 425.587.3210
              www.kirklandwa.gov

MEMORANDUM

To:                  Erik Gustafson, Firefighter

From:                Truc Dever, Human Resources Director

Date:                12/29/2021

Subject:             Notice of Termination


On December 3, 2021, you were notified by Deputy City Manager James Lopez that your accommodation
from COVID-19 vaccination would be ending on December 31, 2021. As you are aware, without an
accommodation or vaccination, you cannot perform an essential function of your position. You were given
until Monday, December 20, 2021 to submit a voluntary separation letter, or else the City would proceed
with the pre-separation process. That process has included a notice of proposed separation and the
option for you to meet with Fire Chief Joseph Sanford and Human Resources Director Truc Dever.

On December 27, 2021 at 10:00am, you met with the Fire Chief and HR Director for a pre-separation
meeting. We thank you for your attendance at this meeting. During the discussion you were made aware
that the City would be separating you from employment as of December 31, 2021 if you were unable to
provide proof of a COVID-19 vaccination or have an accommodation exempting you from vaccination
pursuant to the City’s vaccination mandate for firefighter/EMTs. You were afforded an opportunity to
provide orally or in writing any additional information that would be relevant to the City’s decision
regarding your separation. By the conclusion of the meeting, you had presented no additional information
for the City’s consideration that weighs against separation.

In accordance with the City’s vaccination policy and as discussed with Local 2545, we are terminating
your employment with the City of Kirkland effective December 31, 2021.




                                                   _________________________________
                                                   Truc Dever, Human Resources Director


CC: Personnel File
